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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA, et al.,

                                    Plaintiffs,
  v.                                                  Case No. 1:20-cv-03010-APM

  GOOGLE LLC,                                         HON. AMIT P. MEHTA

                                  Defendant.

  STATE OF COLORADO, et al.,

                                    Plaintiffs,
                                                      Case No. 1:20-cv-03715-APM
  v.
                                                      HON. AMIT P. MEHTA
  GOOGLE LLC,

                                  Defendant.


         MOTION FOR ADMISSION PRO HAC VICE OF MATTHEW D. FIELD

        Pursuant to Rule 83.2(c) of the Local Civil Rules of the United States District Court for the

District of Columbia, the undersigned counsel, Elizabeth C. Rinehart, as a sponsoring member of

the Bar of this Court, respectfully moves for admission Pro Hac Vice of Matthew D. Field, Esq.

in the above-captioned action for the sole purpose of submitting an amicus brief on behalf of Non-

Party Center for Cybersecurity and Law. Consistent with the Court’s Scheduling Order, ECF No.

1201, the Center for Cybersecurity and Law will move for leave to file and submit its proposed

amicus brief by May 9, 2025

        This motion is supported by the Declaration of Matthew D. Field, filed herewith. As set

forth in Mr. Field’s declaration, he is admitted, practicing, and a member in good standing of the




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State Bar of Maryland and the Bar of the District of Columbia. This motion is supported and signed

by Elizabeth C. Rinehart, an active and sponsoring member of the Bar of this Court.




 Date: May 9, 2025                        Respectfully submitted,

                                          /s/ Elizabeth C. Rinehart
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